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 9                         UNITED STATES DISTRICT COURT
10                       CENTRAL DISTRICT OF CALIFORNIA
11
                                                Case No. ____________
12    BRYAN BALDWIN, DAQUESHA
      MCCARTHY, AARON MUNOZ,
13    CYNDY PANIAGUA, MELISSA
      OLSEN, GINGER RALSTON,                    CLASS ACTION COMPLAINT
14    JACOB ROMO, LEE TAYLOR,
      individually and as a representative of
15    a Putative Class of Participants and
      Beneficiaries, on behalf of the
16    ALORICA 401(K) RETIREMENT
      PLAN,
17
                  Plaintiffs,
18
           v.
19
      ALORICA, INC.; and DOES 1 through
20    50,
21                Defendants.
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 1         Plaintiffs Bryan Baldwin, Daquesha McCarthy, Aaron Munoz, Cyndy
 2   Paniagua, Melissa Olsen, Ginger Ralston, Jacob Romo, and Lee Taylor
 3   (collectively “Plaintiffs”), individually and as representatives of participants and
 4   beneficiaries of the ALORICA 401(K) RETIREMENT PLAN, (the “Plan”), bring
 5   this action under the Employee Retirement Income Security Act of 1974, as
 6   amended (“ERISA”), 29 U.S.C. §§1001 et seq., on behalf of the Plan against
 7   current Plan sponsor, Alorica, Inc. (“Alorica”), and John Does 1-50 (collectively the
 8   “Defendants”), for breaching their fiduciary duties in the management, operation
 9   and administration of the Plan.
10                                     INTRODUCTION
11         1.     This action is brought by current and former employees / participants /
12   beneficiaries of Defendants’ Plan to recover losses due to mismanagement of the
13   401k retirement plan and certain selected funds. The 401k plan has become the
14   dominant source of retirement savings for most Americans. Unlike defined-benefit
15   pensions, which provide set payouts for life, 401(k) accounts rise and fall with
16   financial markets, and therefore, the proliferation of 401(k) plans has exposed
17   workers to big drops in the stock market and high fees from Wall Street money
18   managers. This action is filed to recover funds owed back to the plan on behalf of
19   employees / participants / beneficiaries. These retirement funds are significant to the
20   welfare of the class.
21         2.     Federal law affords employers the privilege of enticing and retaining
22   employees by setting up retirement and defined contribution plans pursuant to 26
23   U.S.C. §401 (“401(k) plans). These plans provide employees investment options
24   with tax benefits that inure to the benefits of the employees and, necessarily, to the
25   employers by increasing the “net” compensation their employees receive via tax
26   deferment. To enjoy this benefit, employers must follow the rules and standards
27   proscribed by the Employee Retirement Income Security Act of 1974, 29 U.S.C. §
28   1001, et. seq. (“ERISA”).
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 1         3.     The Defendants chose to accept the benefits of federal and state tax
 2   deferrals for their employees via a 401(k) plan, and the owners and executives of
 3   Defendant organizations have benefitted financially for years from the same tax
 4   benefits. However, Defendants have not followed ERISA’s standard of care. This
 5   lawsuit is filed after careful consultation with experts and review of publicly
 6   available documents to return benefits taken from Plan participants by Defendants.
 7         4.     The Plan at issue is a defined contribution retirement plan or a 401(k)
 8   plan, established pursuant to 29 U.S.C. §1002(2)(A) and §1002(34) of ERISA, that
 9   enables eligible participants to make tax-deferred contributions from their salaries to
10   the Plan. As of December 31, 2020, the Plan had 41,744 total participants and
11   $158,945,863 in assets.
12         5.     ERISA imposes strict fiduciary duties of prudence and loyalty on
13   covered retirement plan fiduciaries. An ERISA fiduciary must discharge his
14   responsibility “with the care, skill, prudence, and diligence” that a prudent person
15   “acting in a like capacity and familiar with such matters” would use. 29 U.S.C. §
16   1104(a)(1). A plan fiduciary must act “solely in the interest of [plan] participants
17   and beneficiaries.” Id. A fiduciary’s duties include “defraying reasonable expenses
18   of administering the plan,” 29 U.S.C. § 1104(a)(1)(A)(ii), and a continuing duty to
19   monitor investments and remove imprudent ones. Tibble v. Edison Int’l, 135 S. Ct.
20   1823, 1829 (2015).
21         6.     Defendants breached their fiduciary duties to the Plan and its
22   participants because the Plan had more than sufficient bargaining power to demand
23   low-cost administrative and investment management services and well-performing,
24   low-cost investment funds and failed to do so.
25         7.     Plainly, the Defendants had insufficient processes in place to ensure that
26   the Plan Participants were provided with prudent investment options and that they
27   paid only reasonable fees.
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 1         8.     Specifically, Alorica and the other Defendants breached their fiduciary
 2   duties of prudence and loyalty to the Plan by:
 3      a. Offering and maintaining higher-cost share classes when identical lower
           cost class shares were available and could have been offered to participants
 4
           resulting in participants/beneficiaries paying unnecessary costs for services
 5         that provided no value to them and resulted in a reduction of compounded
           return gains;
 6
 7      b. Offering poorly performing actively managed funds when passively
           managed funds with identical investment goals and significantly lower fees
 8         were available and could have been offered to participants and sufficient
 9         passively managed funds were not offered to participants resulting in
           participants/beneficiaries paying unnecessary costs for services that
10         provided no value to them and resulted in a reduction of compounded return
11         gains
12      c. Overpaying for Covered Service Providers by paying variable direct and
13         indirect compensation fees through revenue sharing arrangements with the
           funds offered as investment option under the Plan, which exceeded costs
14         incurred by plans of similar size with similar services and which were in
15         excess of and not tethered to the services provided;

16      d. Failing to engage in a competitive bidding process by failing to submit a
           Request for Proposal to multiple service providers such as record keepers,
17         shareholder services and financial advisers;
18
        e. Imprudently choosing and retaining expensive funds that consistently failed
19         to: (1) meet appropriate industry-standard benchmarks, (2) had excessive
20         risk of loss, or (3) had insufficient management tenure or history to be
           offered in the plan;
21
        f. Through the excessive fees paid to Covered Service Providers and
22         investment in expensive funds depriving participants of compounded
23         returns which greatly exceed the annual cost of fees and revenue sharing;
24      g. Offering a guaranteed income product that had unnecessarily high risk and
25         low returns; and

26      h. Failing to maintain and restore trust assets.
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 1         9.       Plaintiffs were injured during the Relevant Time Period by the
 2   Defendants’ flawed processes in breach of their fiduciary duties.        As a result of
 3   Defendant’s actions, participants invested in subpar investment vehicles and paid
 4   additional unnecessary operating expenses and fees with no value to the participants
 5   and resulting in a loss of compounded returns.
 6         10.      Plaintiffs, individually and as the representatives of a putative class
 7   consisting of the Plan’s participants and beneficiaries, bring this action on behalf of
 8   the Plan under 29 U.S.C. §§ 1132(a)(2) and (3) to enforce Defendants’ liability under
 9   29 U.S. C. §1109(a), to make good to the Plan all losses resulting from their breaches
10   of fiduciary duties, and to restore to the Plan any lost profits. In addition, Plaintiffs
11   seek to reform the Plan to comply with ERISA and to prevent further breaches of
12   fiduciary duties and grant other equitable and remedial relief as the Court may deem
13   appropriate.
14                                 JURISDICTION AND VENUE
15         11.      Plaintiffs bring this action pursuant to 29 U.S.C. §1132(a), which
16   provides that participants or beneficiaries in an employee retirement plan may pursue
17   a civil action on behalf of the plan to remedy breaches of fiduciary duty and other
18   violations of ERISA for monetary and appropriate equitable relief.
19         12.      This Court has jurisdiction over the subject matter of this action
20   pursuant to 28 U.S.C. §1331, because it is a civil action arising under the laws of the
21   United States, and exclusive jurisdiction under ERISA §502(e)(1), 29 U.S.C.
22   §1132(e)(1).
23         13.      This Court has personal jurisdiction over Defendants because they
24   transact business in this District, reside in this District, and/or have significant
25   contacts with this District, one or more Plaintiffs reside and were employed in this
26   District, and because ERISA provides for nationwide service of process.
27         14.      Venue is proper in this District pursuant to ERISA §502(e)(2), 29
28   U.S.C. §1132(e)(2), because the Plan is administered in this District, many violations
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 1   of ERISA took place in this District, and Defendants conduct business in this
 2   District. Venue is also proper in this District pursuant to 28 U.S.C. §1391(b) because
 3   Plaintiffs were employed in this District and a substantial part of the events or
 4   omissions giving rise to the claims asserted herein occurred within this District.
 5                                      THE PARTIES
 6   Plaintiffs
 7         15.        Plaintiff Bryan Baldwin resides in N. Fort Meyers, Florida, and was
 8   an employee of Alorica, Inc. Baldwin was a participant in the Plan under 29 U.S.C.
 9   § 1002(7) during the Relevant Time Period and upon information and belief invested
10   in the some or all of the funds which are at issue in this action. Baldwin was
11   damaged by the Defendants’ breaches of their fiduciary duties impacted the Plan as a
12   whole and damaged all Plan participants.
13         16.       Plaintiff Daquesha McCarthy resides in Roswell, Georgia, and was an
14   employee of Alorica, Inc. McCarthy was a participant in the Plan under 29 U.S.C. §
15   1002(7) during the Relevant Time Period and upon information and belief invested
16   in some or all of the funds which are at issue in this action. McCarthy was damaged
17   by the Defendants’ breaches of their fiduciary duties impacted the Plan as a whole
18   and damaged all Plan participants.
19         17.       Plaintiff Aaron Munoz resides in Miami, Florida, and was an employee
20   of Alorica, Inc. Munoz is a participant in the Plan under 29 U.S.C. § 1002(7) during
21   the Relevant Time Period and upon information and belief invested in some or all of
22   the funds which are at issue in this action. Munoz was damaged by the Defendants’
23   breaches of their fiduciary duties impacted the Plan as a whole and damaged all Plan
24   participants.
25         18.       Plaintiff Cindy Paniagua resides in Homestead, Florida, and was an
26   employee of Alorica, Inc. Paniagua was a participant in the Plan under 29 U.S.C. §
27   1002(7) during the Relevant Time Period and upon information and belief invested
28   in some or all of the funds which are at issue in this action. Paniagua was damaged
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 1   by the Defendants’ breaches of their fiduciary duties impacted the Plan as a whole
 2   and damaged all Plan participants.
 3         19.     Plaintiff Melissa Olsen resides in Cedar Rapids, Iowa, and was an
 4   employee of Alorica, Inc. Olsen was a participant in the Plan under 29 U.S.C. §
 5   1002(7) during the Relevant Time Period and upon information and belief invested
 6   in some or all of the funds which are at issue in this action. Olsen was damaged by
 7   the Defendants’ breaches of their fiduciary duties impacted the Plan as a whole and
 8   damaged all Plan participants.
 9         20.   Plaintiff Ginger Ralston resides in Lehigh, Florida, and was an
10   employee of Alorica, Inc. Ralston is a participant in the Plan under 29 U.S.C. §
11   1002(7) during the Relevant Time Period and upon information and belief invested
12   in some or all of the funds which are at issue in this action. Ralston was damaged by
13   the Defendants’ breaches of their fiduciary duties impacted the Plan as a whole and
14   damaged all Plan participants.
15         21.     Plaintiff Jacob Romo resides in Fresno, California, and was an
16   employee of Alorica, Inc. Romo is a participant in the Plan under 29 U.S.C. §
17   1002(7) during the Relevant Time Period and upon information and belief invested
18   in some or all of the funds which are at issue in this action. Romo was damaged by
19   the Defendants’ breaches of their fiduciary duties impacted the Plan as a whole and
20   damaged all Plan participants.
21         22.     Plaintiff Lee Taylor resides in Collinsville, Oklahoma, and was an
22   employee of Alorica, Inc. Taylor was a participant in the Plan under 29 U.S.C. §
23   1002(7) during the Relevant Time Period and upon information and belief invested
24   in some or all of the funds which are at issue in this action. Taylor was damaged by
25   the Defendants’ breaches of their fiduciary duties impacted the Plan as a whole and
26   damaged all Plan participants.
27         23.   Baldwin, McCarthy, Munoz, Paniagua, Olsen, Ralston, Romo, and
28   Taylor (Plaintiffs) have standing under 29 U.S.C. §1132(a)(2) to bring this action on
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 1   behalf of the Plan because Defendants’ reckless and insouciant actions caused actual
 2   harm to an ERISA plan in which the Plaintiffs participate. Plaintiffs suffered an
 3   injury in fact by, inter alia, investing in the higher cost mutual fund shares when
 4   lower cost shares of the same fund were available to the Plan, being forced into high
 5   expense investments because lower choice investments were not made available,
 6   being deprived of a high quality and secure stable value investment option, and
 7   paying excessive fees to covered service providers. Defendants are liable to the Plan
 8   for the Plan’s losses under 29 U.S.C. § 1109(a).
 9   Defendants
10         24.    Defendant ALORICA, INC. (“Alorica”) is the current sponsor and
11   administrator of the Plan and maintains its principal place of business at 5161
12   California Ave, Irvine, CA 92617. Alorica is registered with the State of California
13   and upon information and belief, operates as a sponsor and administrator and/or
14   fiduciary of the Plan.
15         25.    Defendant “Does” or the names of the individuals on the Board of
16   Directors and related Committee(s), including the Plan’s Investment Committee, as
17   well as the Plan’s manager, and Alorica’s officers during the Relevant Time Period
18   are unknown at this time and are named as “John Does” until the “Does” are known
19   and can be named through amendment to this Complaint.
20         26.      Alorica, the Board of Directors, the Investment Committee, the Plan’s
21   manager, and the Directors and Officers are fiduciaries to the Plan under 29 U.S.C.
22   §1002(21)(A)(i) and (iii) because they have sole authority to amend or terminate, in
23   whole or part, the Plan or the trust, and have discretionary authority to control the
24   operation, management and administration of the Plan, including the selection and
25   compensation of the providers of administrative services to the Plan and the
26   selection, monitoring, and removal of the investment options made available to
27   participants for the investment of their contributions and provision of their retirement
28   income.
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 1   Parties in Interest
 2         27.    Finally, although not named as a Defendants, the covered service
 3   providers serve as “Parties of Interest” to this Litigation.
 4         28.    Alorica contracted with Morgan Stanley Smith Barney LLC (“MSSB),
 5   to serve as the Plan’s Investment Advisor. MSSB served as investment fiduciary
 6   during the relevant time period based on Schedules C certified returns filed by
 7   Alorica.
 8         29.    Effective April 22, 2016, Reliance succeeded State Street Corporation
 9   as trustee for the Plan as reflected in a Trustee Appointment executed by the Plan.
10   Reliance Trust Company, Trustee of The Alorica 401(K)Retirement Plan (“RTC”)
11   maintains its principal place of business at 1100 Abernathy Road NE, Suite 400,
12   Atlanta GA 30328. This entity is not registered with the State of California.
13         30.    Massachusetts Mutual Life Insurance Company (“MassMutual”) served
14   as the recordkeeper of the Plan from 2011 to 2021 when MassMutual was acquired
15   by Empower Retirement.         On information and belief, Empower Retirement is
16   MassMutual’s successor-in-interest and assumed its role vis-à-vis the Plan.
17   Accordingly, the Complaint references MassMutual as the Plan’s recordkeeper,
18   which it was during the majority of the relevant time period. But, on information
19   and belief, Empower Retirement is the true party in interest and current recordkeeper
20   of the Plan and references to MassMutual in the Plan refer to both MassMutual and
21   Empower Retirement.
22         31.    Alorica had a concomitant fiduciary duty to monitor and supervise those
23   appointees and contracted parties.
24                     DEFENDANTS’ FIDUCIARY OBLIGATIONS
25         32.    ERISA and common law trusts imposes strict fiduciary duties of loyalty
26   and prudence upon Defendants as Plan fiduciaries. 29 U.S.C. §1104(a)(1)(A)
27   requires a plan fiduciary to “discharge his duties with respect to a plan solely in the
28   interest of the participants and beneficiaries” for the “exclusive purpose of (i)
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 1   providing benefits to participants and their beneficiaries; and (ii) defraying
 2   reasonable expenses of administering the plan.”
 3         33.    29 U.S.C. §1104(a)(1)(B) and common law requires a plan fiduciary to
 4   discharge his obligations “with the care, skill, prudence, and diligence under the
 5   circumstances then prevailing that a prudent man acting in a like capacity and
 6   familiar with such matters would use in the conduct of an enterprise of like character
 7   and with like aims.”
 8         34.    A fiduciary’s duties include a continuing duty to monitor investments
 9   and remove imprudent ones. Tibble v. Edison Int’l, 135 S. Ct. at 1829.
10         35.    29 U.S.C. §1106(a)(1)(C) and 29 U.S.C. §1108(b)(2) and common law
11   allows a fiduciary of an employee benefit plan to enter into an agreement with a
12   party in interest for the provision of administrative services such as recordkeeping to
13   the Plan “if no more than reasonable compensation is paid therefor.” MassMutual
14   and Morgan Stanley are “parties in interest” under 29 U.S.C. §1106(a)(1)(C).
15         36.    29 U.S.C. §1132(a)(2) and common law authorizes a plan participant to
16   bring a civil action to enforce a breaching fiduciary’s liability to the plan under 29
17   U.S.C. §1109.
18         37.    Section 1109(a) and common law provides “[a]ny person who is a
19   fiduciary with respect to a plan who breaches any of the responsibilities, obligations,
20   or duties imposed upon fiduciaries by this subchapter shall be personally liable to
21   make good to such plan any losses to the plan resulting from each such breach.”
22   “One appropriate remedy in cases of breach of fiduciary duty is the restoration of the
23   trust beneficiaries to the position they would have occupied but for the breach of
24   trust.” Restatement (Second) of Trusts § 205(c) (1959); see Eaves v. Penn, 587 F.2d
25   at 463.
26   //
27   //
28   //
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 1                     DEFINED CONTRIBUTION 401(K) PLANS
                       AND THE IMPACT OF EXCESSIVE FEES
 2
           38.    In a defined contribution plan, participants (and sometimes their
 3
     employer) make contributions to plan participant’s individual accounts. Participants’
 4
     retirement benefits are limited to the value of their own individual accounts, which is
 5
     determined solely by employee and employer contributions plus any investment
 6
     gains less plan and investment expenses.           See 29 U.S.C. §1002(34). Plan
 7
     Participants’ investments are held in trust. Typically, plan participants direct the
 8
     investment of their accounts, choosing from the lineup of plan investment options
 9
     chosen by the plan sponsor.
10
           39.    Because retirement savings in defined contribution plans are intended to
11
     grow and compound over the course of the employee participants’ careers, poor
12
     investment performance and excessive fees can dramatically reduce the amount of
13
     benefits available when the participant is ready to retire. Over time, even small
14
     differences in fees and performance compound and can result in vast differences in
15
     the amount of savings available at retirement. As the Supreme Court explained,
16
     “[e]xpenses, such as management or administrative fees, can sometimes significantly
17
     reduce the value of an account in a defined-contribution plan.” Tibble v. Edison Int’l,
18
     135 S. Ct. at 1825. In short, the damages caused by breaches of fiduciary duties to
19
     the Plan cause damages that continue to accrue and compound over time.
20
           40.    In fact, the impact of excessive fees on employees’ and retirees’
21
     retirement assets is dramatic. The U.S. Department of Labor has noted that a 1%
22
     higher level of fees over a 35-year period makes a 28% difference in retirement
23
     assets at the end of a participant’s career. U.S. Dep’t of Labor, A Look at 401(k)
24
     Plan Fees, at 1–2 (Aug. 2013).1
25
     //
26
27   1
      https://www.dol.gov/sites/default/files/ebsa/about-ebsa/our-
28   activities/resourcecenter/publications/401kFeesEmployee.pdf
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 1         41.    “As a simple example, if a beneficiary invested $10,000, the investment
 2   grew at a rate of 7% a year for 40 years, and the fund charged 1% in fees each year,
 3   at the end of the 40-year period the beneficiary’s investment would be worth
 4   $100,175. If the fees were raised to 1.18%, or 1.4%, the value of the investment at
 5   the end of the 40-year period would decrease to $93,142 and $85,198, respectively.
 6   Beneficiaries subject to higher fees for materially identical funds lose not only the
 7   money spent on higher fees, but also “lost investment opportunity”; that is, the
 8   money that the portion of their investment spent on unnecessary fees would have
 9   earned over time.
10         42.    Accordingly, courts have recognized that plan fiduciaries “cannot
11   ignore the power the trust wields to obtain favorable investment products,
12   particularly when those products are substantially identical—other than their lower
13   cost—to products the trustee has already selected.” Tibble v. Edison International,
14   843 F.3d 1187, 1198 (9th Cir. 2016).
15         43.    The marketplace for retirement plan services is established and
16   competitive. As of December 31, 2020, the Plan had 40,584 active participants and
17   $158,945,863 in assets. As a result, the Plan has tremendous bargaining power to
18   demand low-cost administrative and investment management services and well-
19   performing, low-cost investment funds.
20       THE ESTABLISHEMENT OF THE TRUST AND THE DOCUMENTS
21            RELIED UPON FOR THE COMPLAINT’S ALLEGATIONS
22         44.    Since at least 2008, the Defendants’ Annual Returns/Reports of
23   Employee Benefit Plan to the U.S. Departments of Treasury and Labor (“Forms
24   5500” which are “Open to Public Inspection” and available for download from
25   www.efast.dol.gov for forms filed in 2010 and onward).
26         45.    The Defendants did not provide all Plan governing documents on
27   written requests on behalf of the employees representing the class so this information
28   will need to be requested in discovery.
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 1           46.    The underlying allegations in this Complaint are based on the limited
 2   documents provided by Defendants, Plaintiffs’ documents, as well as the
 3   Defendants’ past Forms 5500 filed with U.S. Departments of Treasury and Labor
 4   found     at   www.efast.dol.gov,     and    mutual    fund    prospectuses    found    at
 5   https://www.sec.gov/edgar/searchedgar.
 6                                FACTUAL ALLEGATIONS
 7   A.      Defendants Caused the Plan Participants to Pay Excessive Fees and Lose
             Returns by Failing to Offer, Monitor, and Investigate Available Lower
 8
             Cost Mutual Share Classes as Plan Investment Options.
 9           47.    Mutual funds make a profit by charging investors operating expenses,
10   which are expressed as a percentage of the total assets in the fund. Operating
11   expenses include fund management fees, marketing and distribution fees,
12   administrative expenses and other costs.
13           48.    Mutual funds often offer multiple “classes” of their shares to investors.
14   Each class represents an identical interest in the mutual fund’s portfolio. The
15   principal difference between the classes is that the mutual fund will charge different
16   operating expenses depending on the class.
17           49.    A mutual fund may charge an annual expense ratio of 1% of the gross
18   assets of the fund to one share class, while charging a higher class share in that same
19   fund an expense ratio of .50%. Thus, an investor who purchases the share class with
20   a lower operating expense will realize a .50% greater annual return on his/her
21   investment compared to an investor who purchases the share class with the higher
22   operating expense. Generally, lower class shares are available to larger investors,
23   such as 401(k) plans like the Plan.
24           50.    Plans that invest their participants’ funds in lower share classes and
25   subject them to higher fees engage in share class violations which are the most clear
26   and obvious breaches of fiduciary duties in the Plan. See Tibble v. Edison, 2017 U.S.
27   Dist. LEXIS 130806, *40 (C.D. Cal. Aug. 16, 2017) (“Because the institutional share
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 1   classes are otherwise identical to the retail share classes, but with lower fees, a
 2   prudent fiduciary would know immediately that a switch is necessary.”).
 3         51.    Since at least 2016, Defendants have offered higher cost mutual fund
 4   share classes as investment options for the Plan even though at all times lower cost
 5   class shares of those exact same mutual funds were readily available to the Plan.
 6         52.    Indeed, Defendants have provided as many as 39 fund choices with
 7   clear share class violations.
 8         53.    Defendants selected the Plan’s investment options. In this case, on
 9   information and belief, MassMutual, the Plan’s recordkeeper, provided Defendants
10   with a universe of pooled investment options from which to select a subset to offer
11   Plaintiffs and the other Plan participants.
12         54.    Defendants chose and continued to maintain a pool of investment
13   options including those offered by MassMutual which benefitted MassMutual at the
14   expense of participants and beneficiaries of the Plan by routinely offering higher cost
15   share classes rather than readily available lower cost options.
                                           Summary Table
16
                                                       2020 2019 2018 2017 2016
17          Total Funds #                                39  32   30   30   29
            Cheaper Shares Classes Available #           35  28   28   28   28
18
            Cheaper Shares Classes Available %          90% 88% 93% 93% 97%
19
           55.    The following chart illustrates the differences in the operating costs and
20
     returns between the share classes chosen by Defendants and the least expense share
21
     class available as of January 1, 2015.
22
           56.    The fund name listed in the first row and shaded grey represents the
23
     share class chosen by Defendants. The second fund name listed and not shaded
24
     represents the cheaper share class Defendants could have chosen which was
25
     available to them throughout the duration of the Plan. The bolded line represents the
26
     difference in costs (expenses charged), 12-month yield and the investment returns for
27
     the one- and annualized three- and five-year performance periods ending 12/31/2021.
28
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 1           57.     Additionally, to highlight the harm caused by the Defendants’
 2   imprudent selection of high-cost share classes, the five-year cumulative returns are
 3   included, which shows the compounding effect of excess fees paid over the course of
 4   a five-year period.
                                               Average Annualized Returns    Cumulative Total Returns
 5
                                               (Ending 12/31/21)             (Ending 12/31/21)
 6                                                                                       3-               5-
                                     Expense                         5-                  Year    5-       Year
                                     Ratio                  3-Year   Year    3-Year      %/      Year     %/
 7   Name                            %         1-Year %     %        %       Total       3*      Total    5*
 8   MM S&P 500® Index R5             0.21        25.86      18.25   28.45     99.36             131.17
     MM S&P 500® Index I              0.11        25.98      18.36   28.62     99.93             132.24
 9        Cost of Expensive Share
                          Classes     -0.10       -0.12      -0.11   -0.17     -0.57     -0.19   -1.07    -0.21
10   JHancock US Global Leaders
     Growth I                         0.88        29.32      23.06   19.54    116.25             182.18
11   JHancock US Global Leaders
     Growth R6                        0.77        29.46      23.18   19.65    116.97             183.62
12        Cost of Expensive Share
                          Classes     -0.11       -0.14      -0.13   -0.12     -0.71     -0.24   -1.44    -0.29
13   MassMutual Growth Opps Svc       0.95        29.49      23.85   5.91     117.14             191.34
     MassMutual Growth Opps I         0.75        29.81      24.13   6.16     118.72             194.71
14       Cost of Expensive Share
                         Classes      -0.20       -0.31      -0.29   -0.25     -1.58     -0.53   -3.38    -0.68
15   Delaware Value® Inst             0.68        13.80      10.21   22.37     47.37             62.60
16   Delaware Value® R6               0.58        13.92      10.33   22.57     47.83             63.51
          Cost of Expensive Share
                           Classes    -0.10       -0.12      -0.12   -0.19     -0.46     -0.15   -0.91    -0.18
17
     Invesco Diversified Dividend
     A                                0.81        14.18      8.24    18.93     48.86             48.56
18   Invesco Diversified Dividend
     R6                               0.43        14.66      8.67    19.38     50.74             51.56
19        Cost of Expensive Share
                           Classes    -0.38       -0.48      -0.43   -0.45     -1.87     -0.62   -3.00    -0.60
20
     MM S&P® Mid Cap Index R5         0.28        21.14      12.79   24.41     77.79             82.55
21   MM S&P® Mid Cap Index I          0.18        21.27      12.90   24.60     78.33             83.39
         Cost of Expensive Share
22                       Classes      -0.10       -0.12      -0.10   -0.19     -0.54     -0.18   -0.84    -0.17
     MassMutual Mid Cap Growth
23   Svc                              0.90        24.03      18.08   14.77     90.80             129.54
     MassMutual Mid Cap Growth
24   I                                0.70        24.27      18.31   15.01     91.91             131.83
         Cost of Expensive Share
25                       Classes      -0.20       -0.24      -0.23   -0.24     -1.11     -0.37   -2.29    -0.46
     T. Rowe Price New Horizons       0.75        33.57      26.66   9.71     138.29             226.01
26   T. Rowe Price New Horizons I     0.64        33.71      26.81   9.82     139.06             227.90
           Cost of Expensive Share
27                         Classes    -0.11       -0.14      -0.15   -0.11     -0.76     -0.25   -1.89    -0.38
     Allspring Special Mid Cap
28   Value Admin                      1.05        21.35      11.43   28.32     78.70             71.81

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                                                Average Annualized Returns    Cumulative Total Returns
 1
                                                (Ending 12/31/21)             (Ending 12/31/21)
 2                                                                                        3-               5-
                                      Expense                         5-                  Year    5-       Year
                                      Ratio                  3-Year   Year    3-Year      %/      Year     %/
 3   Name                             %         1-Year %     %        %       Total       3*      Total    5*
     Allspring Special Mid Cap
 4   Value R6                          0.70        21.79      11.82   28.80     80.63             74.82
           Cost of Expensive Share
 5                         Classes     -0.35       -0.44      -0.39   -0.47     -1.93     -0.64   -3.01    -0.60
 6   Delaware Small Cap Core I         0.85        21.44      12.58   23.19     79.11             80.84
     Delaware Small Cap Core R6        0.71        21.59      12.73   23.35     79.76             82.04
 7         Cost of Expensive Share
                            Classes    -0.14       -0.15      -0.15   -0.16     -0.65     -0.22   -1.19    -0.24
 8   Allspring Special Small Cap
     Value Adm                         1.20        18.36      9.75    27.83     65.80             59.20
 9   Allspring Special Small Cap
     Value R6                          0.85        18.77      10.12   28.27     67.55             61.91
10         Cost of Expensive Share
                            Classes    -0.35       -0.41      -0.37   -0.44     -1.74     -0.58   -2.70    -0.54
11   MM MSCI EAFE®
     International Index R5            0.41        13.35      9.46    10.92     45.62             57.13
12   MM MSCI EAFE®
     International Index I             0.31        13.45      9.54    11.03     46.01             57.75
           Cost of Expensive Share
13                          Classes    -0.10       -0.10      -0.09   -0.11     -0.39     -0.13   -0.62    -0.12
     ClearBridge International
14   Growth I                          0.78        19.52      16.12   4.00      70.76             111.11
     ClearBridge International
15   Growth IS                         0.69        19.62      15.78   4.10      71.18             108.07
           Cost of Expensive Share
16                          Classes    -0.09       -0.10      0.34    -0.09     -0.42     -0.14    3.04    0.61
     Janus Henderson Global
17   Equity Income I                   0.78        11.77      7.09    13.12     39.63             40.83
     Janus Henderson Global
18   Equity Income N                   0.70        11.79      7.12    13.04     39.71             41.07
           Cost of Expensive Share
19                          Classes    -0.08       -0.02      -0.04   0.08      -0.07     -0.02   -0.25    -0.05
     Invesco Developing Markets
20   Y                                 0.95        10.65      10.02   -7.25     35.48             61.17
     Invesco Developing Markets
21   R6                                0.81        10.81      10.19   -7.13     36.08             62.43
           Cost of Expensive Share
22                          Classes    -0.14       -0.16      -0.17   -0.12     -0.60     -0.20   -1.26    -0.25
     American Funds Capital
23   World Gr&Inc R4                   0.77        18.38      13.15   14.76     65.90             85.47
     American Funds Capital
24   World Gr&Inc R6                   0.42        18.79      13.55   15.15     67.63             88.77
           Cost of Expensive Share
25                          Classes    -0.35       -0.41      -0.40   -0.39     -1.73     -0.58   -3.30    -0.66
     American Funds New
26   Perspective R4                    0.76        26.84      19.86   17.70    104.06             147.37
     American Funds New
27   Perspective R6                    0.41        27.28      20.28   18.10    106.18             151.76
           Cost of Expensive Share
28                          Classes    -0.35       -0.44      -0.42   -0.40     -2.12     -0.71   -4.40    -0.88

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                                                Average Annualized Returns    Cumulative Total Returns
 1
                                                (Ending 12/31/21)             (Ending 12/31/21)
 2                                                                                        3-               5-
                                      Expense                         5-                  Year    5-       Year
                                      Ratio                  3-Year   Year    3-Year      %/      Year     %/
 3   Name                             %         1-Year %     %        %       Total       3*      Total    5*
 4   Invesco Real Estate Y             1.03        17.43      10.73   41.38     61.95             66.50
     Invesco Real Estate R6            0.79        17.68      10.98   41.60     62.96             68.33
 5         Cost of Expensive Share
                            Classes    -0.24       -0.24      -0.24   -0.22     -1.01     -0.34   -1.83    -0.37
 6   Janus Henderson Glb Tech
     and Innovt T                      0.91        37.05      30.27   17.61    157.44             275.10
 7   Janus Henderson Glb Tech
     and Innovt N                      0.67        37.37      30.56   17.91    159.24             279.41
 8         Cost of Expensive Share
                            Classes    -0.24       -0.32      -0.30   -0.30     -1.80     -0.60   -4.32    -0.86
 9   Loomis Sayles Core Plus
     Bond A                            0.71        5.65       4.17    -1.68     17.92             22.65
10   Loomis Sayles Core Plus
     Bond N                            0.38        6.00       4.53    -1.34     19.11             24.79
11         Cost of Expensive Share
                            Classes    -0.33       -0.35      -0.36   -0.35     -1.19     -0.40   -2.14    -0.43
12   Western Asset Core Plus Bond
     A                                 0.82        6.02       4.50    -2.27     19.18             24.65
     Western Asset Core Plus Bond
13   IS                                0.42        6.47       4.94    -1.87     20.71             27.25
           Cost of Expensive Share
14                          Classes    -0.40       -0.45      -0.43   -0.40     -1.53     -0.51   -2.60    -0.52
15   MassMutual High Yield Svc         0.74        8.37       5.82    7.29      27.26             32.69
     MassMutual High Yield I           0.54        8.56       6.03    7.46      27.96             33.99
16        Cost of Expensive Share
                          Classes      -0.20       -0.20      -0.21   -0.16     -0.70     -0.23   -1.31    -0.26
17   PIMCO International Bond
     (USD-Hdg) Adm                     0.77        3.61       3.29    -1.91     11.21             17.56
18   PIMCO International Bond
     (USD-Hdg) Instl                   0.52        3.86       3.55    -1.67     12.05             19.04
19        Cost of Expensive Share
                          Classes      -0.25       -0.26      -0.26   -0.25     -0.84     -0.28   -1.47    -0.29
20   American Funds American
     Balanced R4                       0.60        15.19      11.39   15.72     52.83             71.52
21   American Funds American
     Balanced R6                       0.25        15.58      11.78   16.11     54.39             74.52
          Cost of Expensive Share
22                        Classes      -0.35       -0.39      -0.39   -0.40     -1.56     -0.52   -3.00    -0.60
     American Funds 2010 Trgt
23   Date Retire R4                    0.63        10.38      7.53    8.95      34.49             43.78
     American Funds 2010 Trgt
24   Date Retire R6                    0.28        10.80      7.93    9.32      36.01             46.42
          Cost of Expensive Share
25                        Classes      -0.35       -0.41      -0.39   -0.37     -1.52     -0.51   -2.65    -0.53
     American Funds 2015 Trgt
26   Date Retire R4                    0.64        11.32      8.18    9.98      37.95             48.16
27   American Funds 2015 Trgt
     Date Retire R6                    0.29        11.70      8.55    10.27     39.36             50.73
28        Cost of Expensive Share
                          Classes      -0.35       -0.38      -0.37   -0.29     -1.41     -0.47   -2.57    -0.51
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                                              Average Annualized Returns    Cumulative Total Returns
 1
                                              (Ending 12/31/21)             (Ending 12/31/21)
 2                                                                                      3-               5-
                                    Expense                         5-                  Year    5-       Year
                                    Ratio                  3-Year   Year    3-Year      %/      Year     %/
 3   Name                           %         1-Year %     %        %       Total       3*      Total    5*
 4   American Funds 2020 Trgt
     Date Retire R4                  0.65        12.02      8.91    10.29     40.56             53.25
 5   American Funds 2020 Trgt
     Date Retire R6                  0.30        12.38      9.29    10.64     41.94             55.89
 6        Cost of Expensive Share
                          Classes    -0.35       -0.36      -0.37   -0.35     -1.38     -0.46   -2.64    -0.53
 7
     American Funds 2025 Trgt
 8   Date Retire R4                  0.66        13.88      10.31   10.98     47.70             63.31
     American Funds 2025 Trgt
 9   Date Retire R6                  0.31        14.29      10.69   11.44     49.28             66.18
          Cost of Expensive Share
10                        Classes    -0.35       -0.40      -0.39   -0.45     -1.58     -0.53   -2.87    -0.57

11   American Funds 2030 Trgt
     Date Retire R4                  0.68        15.68      11.76   12.66     54.78             74.33
12   American Funds 2030 Trgt
     Date Retire R6                  0.33        16.09      12.16   13.16     56.44             77.53
13        Cost of Expensive Share
                          Classes    -0.35       -0.41      -0.41   -0.49     -1.66     -0.55   -3.20    -0.64
14   American Funds 2035 Trgt
     Date Retire R4                  0.70        18.34      13.56   15.13     65.71             88.86
15
     American Funds 2035 Trgt
16   Date Retire R6                  0.35        18.75      13.97   15.54     67.44             92.25
          Cost of Expensive Share
17                        Classes    -0.35       -0.41      -0.40   -0.40     -1.73     -0.58   -3.38    -0.68
     American Funds 2040 Trgt
18   Date Retire R4                  0.71        19.52      14.34   16.38     70.74             95.46

19   American Funds 2040 Trgt
     Date Retire R6                  0.36        19.96      14.75   16.83     72.61             98.92
20        Cost of Expensive Share
                          Classes    -0.35       -0.44      -0.40   -0.44     -1.88     -0.63   -3.46    -0.69
21   American Funds 2045 Trgt
     Date Retire R4                  0.72        19.89      14.62   16.74     72.32             97.79
22   American Funds 2045 Trgt
     Date Retire R6                  0.37        20.32      15.02   17.18     74.17             101.34
23        Cost of Expensive Share
                          Classes    -0.35       -0.43      -0.41   -0.44     -1.85     -0.62   -3.55    -0.71
24
     American Funds 2050 Trgt
25   Date Retire R4                  0.72        20.14      14.78   16.90     73.39             99.26
     American Funds 2050 Trgt
26   Date Retire R6                  0.37        20.53      15.17   17.27     75.11             102.66
          Cost of Expensive Share
27                        Classes    -0.35       -0.40      -0.39   -0.37     -1.72     -0.57   -3.41    -0.68

28   American Funds 2055 Trgt
     Date Retire R4                  0.73        20.10      14.76   16.82     73.23             99.07
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                                                    Average Annualized Returns         Cumulative Total Returns
 1
                                                    (Ending 12/31/21)                  (Ending 12/31/21)
 2                                                                                                 3-                     5-
                                        Expense                                5-                  Year    5-             Year
                                        Ratio                       3-Year     Year    3-Year      %/      Year           %/
 3   Name                               %           1-Year %        %          %       Total       3*      Total          5*
 4   American Funds 2055 Trgt
     Date Retire R6                       0.38         20.54         15.17     17.28      75.14                 102.64
 5        Cost of Expensive Share
                          Classes        -0.35          -0.44        -0.41     -0.45       -1.92       -0.64     -3.57     -0.71
 6   American Funds 2060 Trgt
     Date Retire R4                       0.73         20.08         14.73     16.82      73.14                  98.82
 7
     American Funds 2060 Trgt
 8   Date Retire R6                       0.38         20.51         15.13     17.19      74.99                 102.26
          Cost of Expensive Share
 9                        Classes        -0.35          -0.43        -0.39     -0.38       -1.85       -0.62     -3.44     -0.69
     American Funds 2065 Trgt
10   Date Retire R4                       0.73                                 16.89

11   American Funds 2065 Trgt
     Date Retire R6                       0.38                                 17.32
12        Cost of Expensive Share
                          Classes        -0.35                                 -0.44
13
     * The 3-Year %/3 and 5-Year %/5 figures illustrate that the cost to participants in lost returns is typically greater than
14   the charged annual expenses. This lost return differential is not adequately expressed in the annualized figures.

15            58.      Defendants may seek to explain that they offered higher cost share
16   classes with higher fee burdens by pointing to the Plan’s ability to use those fees for
17   revenue sharing arrangements. But this does not justify the increased fees and lost
18   returns imposed on Plan participants. Rather, empirically speaking, revenue sharing
19   burdens on mutual fund investors are always more costly than the revenue sharing
20   credit offered by the corresponding mutual fund share class.
21            59.      In other words, investing Plan assets in higher cost share classes does
22   not benefit plan participants because it causes them to pay excess indirect fees which
23   are not tethered to any service provided to Plan participants but rather are tied to the
24   amounts invested by Plan participants.
25            60.      Because the Plan could have invested in identical mutual funds with a
26   lower cost share class, the Defendants’ actions were directly erosive to the trust’s
27   growth.
28   //
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 1         61.    Defendants thus caused Plan participants/beneficiaries harm by not just
 2   forcing them to pay higher fees, but also caused lost yield and returns as a result of
 3   those higher fees on nearly every mutual fund offered through the Plan. The erosive
 4   effect of excessive fees and the resulting lost returns compounds over time
 5   substantially lowering the corpus of participants’ retirement investments.
 6         62.    In selecting share classes with higher fees, Defendants demonstrated a
 7   lack of basic skill and prudence when selecting investments.
 8         63.    Defendants failed to use the Plan’s bargaining power to leverage lower
 9   cost mutual fund options for the Plan participants.
10         64.    Lastly, the information available for Defendants to make an informed
11   assessment as to costs and returns available for each share class and to make the
12   assessments noted above was made available in each fund’s annual prospectus at the
13   time the choices were made. For example, Defendants have included the Western
14   Asset Core Plus Bond Class A as an investment option available to participants since
15   2015. The information provided in the Western Asset Core Plus Bond annual
16   prospectuses clearly show a significant difference in fees and investment returns
17   between the Class A and Institutional Share Class.
18         65.    The Defendants’ actions to choose high-cost index funds demonstrates a
19   lack of prudence. The Western Asset Core Plus Bond had an IS or Institutional
20   Share class available with no 12b-1 fees as compared to Class A which the fund
21   invested in that paid twenty-five basis points (0.52%/yr). The total fees paid for the
22   Class A share were nearly double at 82 basis points as opposed to 42 basis points for
23   the institutional share.
24         66.    The Defendants selected the “A” share classes that cost 0.82%/yr
25   because, as per Defendants’ Form 5500s, “MassMutual received estimated 12b-1
26   Fees of 0.25% with respect to plan assets held in the Western Asset Core Plus Bond
27   Fund (MR-2285).”
28   //
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 1         67.       In other words, Defendants caused Plan participants who invested in the
 2   Western Asset Core Plus Bond to pay nearly double the amount in fees and
 3   permitted MassMutual to collect a portion of those increased fees.
 4         68.       Additionally, an analysis of each attribute of the different share classes
 5   reveals that there is no difference between the share classes other than costs and
 6   performance returns as a consequence of costs, all borne by the participants.
 7         69.       Wasting the trust’s money (i.e., participants/beneficiaries’ money)
 8   violates subsections (A), (B) and (D) of ERISA Section 404(a)(1) above. In devising
 9   and implementing strategies for the investment and management of trust assets,
10   trustees are obligated to “minimize costs.”         Uniform Prudent Investor Act (the
11   “UPIA”) §7.
12         70.       As is evident from the allegations in the Complaint, Defendants did not
13   systemically and regularly review or institute other processes in place to fulfill their
14   continuing obligation to monitor Plan investments and reduce Plan costs, or, in the
15   alternative, failed to follow the processes, as evidenced by the offering of higher cost
16   share classes as Plan investment options when lower cost options of the same funds
17   were available.
18         71.       A prudent fiduciary conducting an impartial review of the Plan’s
19   investments would have identified the cheaper share classes available and transferred
20   the Plan’s investments in the above-referenced funds into the lower share classes at
21   the earliest opportunity. The total amount of excess mutual fund expenses paid by
22   Plan participants over the past six years, which correspondingly reduced the return
23   on the Plan participants’ investments, resulted in millions of dollars of damages to
24   participants.
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 1   B.      Defendants Paid MassMutual and MSSB Unreasonable Fees and Failed
             to Monitor MassMutual and MSSB, and Failed to make Requests for
 2           Proposals from Other Covered Service Providers
 3           72.   Defendants have a duty to prudently select covered service providers
 4   (“CSPs”). Courts that have considered the issue have made it clear that “the failure to
 5   exercise due care in selecting . . . a fund’s service providers constitutes a breach of a
 6   trustees’ fiduciary duty.” 28 U.S.C. § 1108(b)(2) states services must be necessary
 7   for the plan’s operation. Department of Labor guidance has also emphasized the
 8   importance of prudently selecting service providers.2 The DOL has observed that,
 9   when selecting a service provider, “the responsible plan fiduciary must engage in an
10   objective process.” Id. Such a process must be “designed to elicit information
11   necessary to assess . . . the reasonableness of the fees charged in light of the services
12   provided.” Id.
13           73.   Recordkeeping is a necessary service for every defined contribution
14   plan. Recordkeeping services for a qualified retirement plan, like the Plan, are
15   essentially fixed and largely automated. It is a system where costs are driven purely
16   by the number of inputs and the number of transactions. In essence, it is a computer-
17   based bookkeeping system.
18           74.   The cost of recordkeeping and administrative services depends on the
19   number of participants, not the amount of assets in the participant’s account.
20           75.   The greatest cost incurred in incorporating a new retirement plan into a
21   recordkeeper’s system is for upfront setup costs. After the Plan account is set up,
22   individual accounts are opened by entering the participant’s name, age, SSN, date of
23   hire and marital status. The system also records the amount a participant wishes to
24   contribute each pay period through automated payroll deductions. Participants can go
25   on-line and change their contribution rate at any time.
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         DOL Info. Letter to Theodore Konshak (Dec. 1, 1997).
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 1         76.    Because the cost of recordkeeping services depends on the number of
 2   participants, not on the amount of assets in the participant’s account, the cost of
 3   providing recordkeeping services to a participant with a $100,000 account balance is
 4   the same for a participant with $1,000 in her retirement account.
 5         77.    Recordkeepers for defined contribution plans are generally compensated
 6   in two ways: First, through direct payments from the plan (participants) or employer;
 7   and second, through indirect payments via a practice known as revenue sharing.
 8         78.    In a revenue sharing arrangement, a mutual fund or other investment
 9   vehicle directs a portion of the expense ratio—the asset-based fees it charges to
10   investors—to the 401(k) plan's recordkeeper putatively for providing marketing,
11   recordkeeping and administrative services for the mutual fund. These fees include:
12   Rule 12b-1 fees, which are paid by the Funds to the recordkeeper as compensation
13   for its services and expenses in connection with the sale and distribution of Fund
14   shares; shareholder service fees; and sub-transfer agency fees. The payments are not
15   tied to actual expenses incurred by the recordkeeper for services rendered.
16         79.    Because revenue sharing arrangements pay recordkeepers asset-based
17   fees, prudent fiduciaries monitor the total amount of revenue sharing a recordkeeper
18   receives to ensure that the recordkeeper is not receiving unreasonable compensation.
19   A prudent fiduciary ensures that the recordkeeper rebates to the plan all revenue
20   sharing payments that exceed a reasonable per participant recordkeeping fee that can
21   be obtained from the recordkeeping market through competitive bids. Defendants
22   did not do that here.
23         80.    Because revenue sharing payments are asset based, they bear no relation
24   to the actual cost to provide services or the number of plan participants and can result
25   in payment of unreasonable recordkeeping fees. To put it another way, recordkeepers
26   (or any other CSP) receiving unchecked revenue sharing compensation accrue
27   significant ongoing pay increases simply as a result of participants putting money
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 1   aside biweekly for retirement. Additional funds come from interest, dividends and
 2   capital gains.
 3         81.    Thus, for example, the Defendants’ allowed and directed (in plan year
 4   2016) a 50% pay raise to MSSB (increase of $28,419) while their investment
 5   advising services remained exactly the same.
 6         82.    Based on the number of Plan participants and the assets in the Plan, a
 7   reasonable recordkeeping fee for the Plan is approximately $40 per participant (15th
 8   Annual      NEPC       2020     Defined   Contribution    Plan   &     Fee    Survey:
 9   https://f.hubspotusercontent00.net/hubfs/2529352/2020%20DC%20Plan%20and%20
10   Fee%20Survey/2020%20NEPC%20DC%20Plan%20Progress%20Report.pdf.
11         83.    Commencing in 2011, Defendants chose MassMutual to serve as the
12   Plan’s recordkeeper.
13         84.    Based on the direct and indirect compensation levels shown on the
14   Plan’s Form 5500s filed with the Department of Labor covering the years between
15   2011 and 2020, the Plan paid much more than a reasonable fee for MassMutual’s
16   services, resulting in the Plan paying millions of dollars in excessive recordkeeping
17   fees. The below chart demonstrates that the Plan consistently paid more than $40 per
18   participant to MassMutual.
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 1         85.    There are numerous recordkeepers in the marketplace who are capable
 2   of providing a high level of service to the Plan, and who will readily respond to a
 3   request for proposal. These recordkeepers primarily differentiate themselves based
 4   on service and price, and vigorously compete for business by offering the best
 5   service for the best price.
 6         86.    The package of recordkeeping services the Plan received included
 7   standard recordkeeping services such as: government reporting services, plan
 8   sponsor support services, recordkeeping services, and plan investment services and
 9   reporting.
10         87.    The Plan did not receive any unique services or at a level of quality that
11   would warrant fees greater than the competitive fees that would be offered by other
12   providers.
13         88.    The market for defined contribution recordkeeping services is highly
14   competitive, particularly for a Plan like Alorica’s with large numbers of participants
15   and large amounts of assets.
16         89.    The unreasonable fees paid to MassMutual through its revenue sharing
17   arrangements directly resulted from Defendants’ choice of improper mutual fund
18   share classes and failing to monitor MassMutual.
19         90.    The mutual funds paid annual revenue sharing fees based on a
20   percentage of the total Plan assets invested in the fund, which were ultimately paid
21   by Plan participants who invested in those funds. The Plan participants realized
22   lower returns on their investments because they paid higher fund operating expenses.
23         91.    The clear explanation for this is that Defendants have a flawed and
24   reckless provider selection process that is “tainted by failure of effort, competence,
25   or loyalty.” Braden v. Wal-Mart Stores, 588 F.3d 585, 596 (8th Cir. 2009).
26   //
27   //
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 1         92.      As previously noted, in most years, 90% or more of the funds offered to
 2   the participants had less expensive share classes available. Defendant’s use of higher
 3   cost share classes to pay service provider costs is the most inequitable, inefficient
 4   and expensive method available.
 5         93.      Defendants clearly failed to use the Plan’s bargaining power to leverage
 6   its CSPs to charge lower administrative fees for the Plan participants.
 7         94.      Defendants failed to take any or adequate action to monitor, evaluate or
 8   reduce MassMutual or MSSB’s fees, such as:
 9         a. Choosing mutual fund share classes with lower revenue sharing for the
10               Plan;
11         b. monitoring costs to compare with the costs being charged for similar sized
12               plans in the marketplace; or
13         c. negotiating with MassMutual or MSSB to cap the amount of revenue
14               sharing or ensure that any excessive amounts were returned to the Plan.
15         95.      The amount of compensation paid to CSPs vastly exceeds any DOL and
16   IRS prohibited transaction “reasonable compensation” exemption for “cost plus
17   reasonable profit.”
18         96.      In sum, the Plan unreasonably paid broker dealer intermediaries like
19   MassMutual and MSSB fees far in excess of what the Plan needed to pay for their
20   services and these fees were not tethered to the actual services rendered, but rather
21   increased based on revenue sharing of a larger corpus of Plan funds over time.
22         97.      ERISA holds fiduciaries “to a high standard of care and diligence”
23   regarding fees: Fiduciaries must, among other things, “[e]stablish a prudent process
24   for selecting investment options and service providers”; “[e]nsure that fees paid to
25   service providers and other plan expenses are reasonable in light of the level and
26   quality of services provided”; and “[m]onitor investment options and service
27   providers once selected to make sure they continue to be appropriate choices.”
28   Additionally, The Department of Labor has consistently reminded ERISA fiduciaries
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 1   of their responsivities to carefully evaluate fees when selecting plan investment
 2   options and then monitor fees on an ongoing basis. Defendants breached their
 3   fiduciary duties by failing to conduct themselves accordingly.
 4   C.    Defendants Selected and Maintained Imprudent Funds that Fell Below
           the Reasonable Standard of Care
 5
                 1. Defendants Chose and Continued to Include Investments Lagging in Benchmark
 6                  Comparisons.
 7         98.      Mutual funds charge investors manager fees (ranging from 0.5%/yr to
 8   1%/yr) that ostensibly pay for the premium of skilled human managers choosing
 9   investments which are meant to perform better than their benchmarks. The funds
10   also pay costs that are incurred because of their active turnover of investments
11   (ranging per U.S. Securities and Exchange Commission (SEC) from 1%/yr to
12   1.5%/yr).
13         99.      Unlike mutual funds with human managers, passive or index funds have
14   no manager fees or transaction/turnover costs to detract from the funds’
15   performance.
16         100. The Restatement of Trusts (Third) explains that a plan fiduciary must
17   not only benchmark the fees of actively managed funds but also identify the
18   additional costs that result from the use of actively managed funds. It is necessary to
19   identify these costs so that the plan sponsor can determine whether the additional
20   costs are justified by a reasonable expectation of additional returns.
21         101. Accordingly, in order to justify investment in actively managed funds,
22   those funds must actually perform better than their benchmark. In other words, the
23   plan managers must demonstrate skill in beating the relevant part of the market to
24   justify fees and costs of active investment.
25         102. This statistical concept is fundamental and considers the tenet of
26   investing that more risk must be justified by higher potential returns while less risk
27   may be met with lesser returns. Indeed, the Restatements of Trust (Second and
28   Third) discuss why Treasury bills and notes are bought by older investors – less
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 1   yield, but less risk to for someone with little time to recover losses. When the higher
 2   level of risk fails to achieve a commensurate level of higher return, the investment
 3   cannot be prudent.
 4         103. That is, “[i]f the extra costs and risks of an investment program are
 5   substantial, these added costs and risks must be justified by realistically evaluated
 6   return expectations.” Restatement (Third) of Trusts § 90, cmt. H(2).            In the
 7   investment industry, this comparison must be made by comparing the performance
 8   of actively managed funds to the performance of broad market indexes and index
 9   fund alternatives. The use of actively managed funds is justified only when the
10   additional expected returns sufficiently exceed the known additional costs.
11         104. Many studies have shown that while higher-cost mutual funds may over
12   the short term outperform a less-expensive option, such as a passively managed
13   index fund, they rarely do so over an extended period of time.
14         105. For the funds made available by Defendants for Plan participants,
15   Plaintiffs have calculated each actively managed fund’s returns versus the
16   performance of their benchmark. Plaintiffs tested each of Defendants’ chosen
17   stock/bond selection skill (at a 95% confidence level). This comparison used the
18   specific periods of time used by the Defendants (at the time of their adding a fund) to
19   ensure Plaintiffs never reviewed the Defendants’ conduct using hindsight.
20         106. Plaintiffs used this mathematical evidence-based analysis to analyze
21   whether it was prudent to add/retain actively managed funds.
22         107. The first step in this calculation is determining the manager’s excess
23   returns above an appropriate benchmark. Then, the regularity of the excess returns is
24   calculated using the standard deviation of those returns. Based on these two
25   numbers, Plaintiffs calculated the length of time (number of years) needed to observe
26   whether a manager can support their skill claim can be determined.
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 1         108. The following table contains a list of funds chosen/retained by Alorica
 2   represents funds over a 12- year time period. At any one plan year, only about two
 3   dozen fund choices were available to participants/beneficiaries for (1) saving their
 4   salaries biweekly and (2) reinvesting their interest, dividends and capital gains
 5   monthly.
 6         109. The table demonstrates that almost none of the funds selected by \
 7   Defendants can be justified by the fund’s performance relative to market indices.
 8         110. For example, the Principal Large Cap S&P 500 Index R1 was the most
 9   expensive fund share class available to the Defendants and the manager of the fund
10   lagged behind his benchmark’s return by (1.07%) every year before Defendants
11   selected the fund for the trust. As seen in the table, the fund did not demonstrate the
12   requisite skill to justify its inclusion because there was no likelihood that it would
13   outperform its benchmark and justify the payment of additional fees and costs.
14         111. The next fund in row two of the table, the American Funds Growth
15   Fund of Amer R1, was the most expensive fund share class available to the
16   Defendants at the time of their conduct (adding the fund to the trust) and the fund
17   manager would require 41 years of monitoring to determine whether he had skill at a
18   95% confidence level (based on his returns versus benchmark’s performance for
19   every earlier year of the fund’s existence). Alorica’s fund’s inception date was June
20   6, 2002. Accordingly, the selection and retention of this fund cannot be justified by
21   performance analysis compared to the relevant benchmark.
22         112. Moreover, as noted, in most instances, Defendants unjustifiably selected
23   a costly share class when a less costly class was available.
24         113. Defendants had a duty not to select these funds and a continuing duty to
25   cull the funds from the investment portfolio.
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 1         114. In addition to demonstrating that Defendants’ selection and retention of
 2   actively managed funds was not justified by performance, Plaintiffs have also
 3   compared the actively managed funds to passively managed funds invested in the
 4   same asset class – a standard industry practice for evaluating mutual funds.
 5         115. As shown in the next table, the Plan spent close to an additional $5.5
 6   million chasing excess returns. While a few funds may have outperformed passive
 7   funds despite excessive fees over limited time periods, overwhelmingly the suite of
 8   funds as a whole underperformed primarily due to the excessive fees and lack of skill
 9   in managing the funds. Because Defendants did not have a viable methodology for
10   identifying fund managers with the skills necessary to outperform the market, almost
11   $5.5 million was wasted. As explained above, these losses compound over time.
12         116. Defendant Alorica failed its fiduciary duty by setting up an investment
13   structure that does not properly consider lower cost, higher performance investment
14   options.
15         117. The costs to the Alorica 401(k) Retirement Plan are estimated below
16   using the Defendants’ Forms 5500 and the U.S. Securities and Exchange
17   Commission (SEC) transaction costs estimates:
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15         118. Plaintiffs have analyzed some of the key funds that Defendants selected
16   for the Plan, including those with the largest investments of participants’ assets. As
17   explained below, their performance prior to and after selection did nothing to justify
18   their selection and retention, both as compared to active funds and passive
19   comparators with the same investment utility and similar holdings.
20         119. The chart below compares these key mutual funds and demonstrates that
21   they could have been replaced with comparable index funds with lesser fees and
22   better overall performance.
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                                                                                Current vs Index
 1
                                                                                   Total
 2                                                                              Return Lag Total Return
                                                                                    (%)          Lag ($)*
 3                                                                       Excess   6-Year          6-Year
                                         Comparable Index               Expense   Ending          Ending
 4     Current Fund     Expense               Fund              Expense    %    12/31/2021 12/31/2021
 5    MM S&P 500® Index
                     R5 0.21%            Fidelity® 500 Index    0.015%    1300%        -3.08%          -80,115.98
 6        JHancock US Global               TIAA-CREF Large-
            Leaders Growth I   0.88%         Cap Gr Idx Instl   0.05%     1660%        -44.81%     -3,761,355.55
 7
      MassMutual Growth                    TIAA-CREF Large-
 8             Opps Svc        0.95%         Cap Gr Idx Instl   0.05%     1800%        -57.26%       -603,892.49
                                            Vanguard Value
 9   Delaware Value® Inst      0.68%            Index Adm       0.05%     1260%        -24.11%       -841,949.72
10      Invesco Diversified                   Vanguard Value
                Dividend A 0.81%                    Index Adm 0.05%          1520%       -40.89%       -473,613.71
11         American Funds                     Vanguard Total
      Capital World Gr&Inc                 World Stock Index
12                       R4 0.77%                      Admiral 0.10%          670%       -15.67%       -180,249.15
     * Lag ($) were calculated based on applying the lag (%) to the 2016 beginning year assets for each fund and
13   are intended to illustrate the cost of the lag at the most basic level and not intended to estimate actual
14   harm. The asset base on which the return lags were calculated increased during the course of the analysis
     period and therefore the return lag in these tables is an underestimate of damages.
15
               120. The comparators used in the chart above are appropriate because they,
16
     inter alia, are widely available and reputable funds, have the same investment goals
17
     as their comparator funds, and select stocks out of the same pools. The comparators
18
     would be used by Plan participants looking to make the same kind of investments.
19
               121. In this regard, the MassMutual S&P 500 index fund held by the fund is
20
     identical to the Fidelity fund that Plaintiffs have compared it to other than having
21
     higher fees. Both funds are designed to track the performance of the S&P 500.
22
               122. As to the active funds, 29 CFR § 2550.404a-5(d)(1)(iii) requires
23
     fiduciaries to provide plan participants a comparison of fund investments with
24
     “[b]enchmarks” comparing performance to “an appropriate broad-based securities
25
     market index.”
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 1           123. SEC rules similarly require mutual funds to compare their performance
 2   to “an appropriate broad-based securities market index.” 3
 3           124. The passive funds selected by Plaintiffs for comparison are appropriate
 4   comparators to the active funds because they could both properly be benchmarked
 5   against the same broad-based market index comparators within the meaning of 29
 6   CFR § 2550.404a-5 and relevant SEC rules.
 7           125. The JHancock US Global Leaders Growth I and MassMutual Growth
 8   Opps Svc funds offered by the plan and the comparator TIAA-CREF Large-Cap
 9   passively managed fund all seek similar growth opportunities within the Russell
10   1000 Growth Index – the largest growth-oriented companies.
11           126. The Delaware Value® and Invesco Diversified Dividend are compared
12   to the passively managed Vanguard Value Index Adm because they all seek to invest
13   in stocks of large U.S. companies (market value >$10 billion) whose intrinsic value
14   is greater than the current market value of the stock. The American Funds Capital
15   World Gr&Inc fund is compared to the passively managed Vanguard Total World
16   Stock Index Admiral Fund because both funds seek investment opportunities in U.S.,
17   foreign and emerging markets.
18           127. Plaintiffs selected the MM S&P 500® Index fund for analysis because
19   the plan holds almost $20M of participants’ funds. This represents the third largest
20   Plan investment and the second largest Plan investment in a fund.
21           128. The MM S&P 500® Index is an S&P index fund offered by
22   MassMutual, a plan service provider.
23           129. Although the fund is one of the few passively managed investments in
24   the fund, it too should and would have been replaced by Plan fiduciaries who had an
25   appropriate process for reviewing plan investments.
26   //
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         See https://www.sec.gov/files/formn-1a.pdf
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 1         130. That is because Plan fiduciaries should have recognized that this index
 2   fund could have been replaced with an index fund that had lower fees but served an
 3   identical purpose to investors.
 4         131. Plan fiduciaries’ failure to make that replacement cost Plan participants
 5   excess fees which compounded year after year.
 6         132. Similarly, in 2017, the Defendants caused financial harm to the
 7   Plaintiffs by adding the more expensive MassMutual Select Mid Cap Growth Svc.
 8   Defendants sold the Plaintiffs’ interest in the cheaper Prudential Jennison Mid Cap
 9   Growth and forced their money into the pricier MassMutual Select Mid Cap Growth
10   fund. This sale from the cheaper fund to the more expensive fund cost Plaintiffs
11   meant more costs for the Plaintiff for a very similar asset class funds for the years
12   2017 through 2021. If Defendants had evaluated the selection decision as a prudent
13   investor in a similar situation had, they would have known that each fund’s expense
14   ratio and turnover costs are inverse predictors of future performance; the lower the
15   manager fee/turnover, the higher the expected return. Had the Defendants kept the
16   old fund, the trust would have almost $1 million more dollars in it since the decision
17   to transfer Plan assets into a more expensive MassMutual fund in 2017.
18         133. Plaintiffs selected the JHancock US Global Leaders Growth fund for
19   analysis because as of 2020, the Plan had over $22M of participants’ funds invested
20   in the fund. This represents the largest investment of Plan assets in a fund, second
21   only to the stable value guaranteed income investment which also holds over $22M
22   in investment funds.
23         134. The fund should not have been selected as it trailed its Morningstar
24   peers in six of eleven years prior to selection including five years in the lowest
25   quartile of performance.          Additionally, as discussed above, analysis of its
26   performance at the time of selection would have led to the conclusion that its
27   manager did not have skill that justified its fees over investment in a passive option.
28   //
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 1           135. Since selection, as shown above, its return has lagged its passive
 2   comparator. There is no justification for the Plan’s continued retention of this fund.
 3           136. Plaintiffs selected the MassMutual Growth Opps fund for analysis
 4   because it was the only additional large growth option fund next to the JHancock US
 5   Global Leaders Growth fund discussed above.
 6           137. As demonstrated in the chart above, this fund offered a staggering
 7   57.26% worse performance than its passive fund comparator over the six-year period
 8   ending December 31, 2021.           It has performed worse than its Morningstar
 9   comparators in four out of the last seven years and it should have been removed from
10   the Plan.
11           138. Plaintiffs selected the Delaware Value® fund for analysis because
12   together with the Invesco Diversified Dividend fund they represent the two large
13   value fund options in the Plan.
14           139. They have both performed poorly.
15           140. The Delaware Value® fund’s return lags its Morningstar comparators in
16   five of the seven years since its selection and its performance has caused a 24% loss
17   to the plan compared to its passive comparator in the six-year period ending
18   December 31, 2021.
19           141. Additionally, as discussed above, analysis of its performance at the time
20   of selection would have led to the conclusion that its manager did not have skill that
21   justified its fees over investment in a passive option.
22           142. The Invesco Diversified Dividend fund was outperformed by its
23   Morningstar comparators in five of the nine years prior to its selection and six of
24   nine years since selection. It caused a 40.89% loss to the plan compared to the
25   performance of its passive comparator in the six-year period ending December 31,
26   2021.
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 1         143. Additionally, as discussed above, analysis of its performance at the time
 2   of selection would have led to the conclusion that its manager did not have skill that
 3   justified its fees over investment in a passive option.
 4         144. The American Funds Capital World Gr&Inc fund has trailed its
 5   Morningstar peers in 7 of 10 years since selection and there is no justification for the
 6   Plan’s continued retention of this fund.
 7         145. Additionally, as discussed above, analysis of its performance at the time
 8   of selection would have led to the conclusion that its manager did not have skill that
 9   justified its fees over investment in a passive option.
10         146. Defendants’ failure to engage in appropriate prudent selection and
11   retention decision making processes is further evidenced by the fact that Defendants
12   did not invest any of the actively managed funds discussed above in the best share
13   class that was available to the Plan for those funds, costing Plan participants
14   additional fees on top of the ordinary active fund management fees.
15         147. Thus, as demonstrated above, even if offering actively managed funds
16   can be justified in some instances, here it was not justified by Defendants’ specific
17   Plan investment choices.
18         148. Moreover, Defendants did not offer sufficient passive and index funds
19   for investors who prudently did not want to pay excess fees chasing returns.
20         149. Defendants began offering an S&P Index Fund in 2011. They offered
21   another passive fund beginning in 2017, and two more in 2019. But these funds did
22   not offer sufficient investment choices for those Plan participants who prudently did
23   not want to pay excess fees for funds whose performance did not justify those fees.
24         150. Moreover, three of the four passively managed funds were proprietary
25   MassMutual products that still had significantly higher fees than comparable passive
26   fund alternatives.
27         151. Thus, Defendants never offered Plan participants an opportunity to
28   invest their funds in a diversified, low-fee approach.
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 1             152. Defendants had a duty to prudently select funds and not to chase excess
 2   returns which were not justified by the performance of the funds at the time of their
 3   selection or thereafter. Defendants had a duty to seek out lower cost comparable
 4   funds than those that they offered.
 5             153. Defendants were aware of the year over year performance discussed
 6   above and had a duty to make appropriate selection decisions and actively cull
 7   underperforming funds whose continued inclusion in the Plan could not be justified
 8   and which were costing Plan participants excess fees that were not justified by
 9   performance.
10             154. During the Class Period, Defendants failed to consider and monitor
11   materially similar but cheaper alternatives to the Plan’s investment options. This
12   failure is a further indication that Defendants lacked a prudent investment
13   monitoring process.
14             155. Defendants breached their duties and continue to do so by failing to
15   remove mutual funds which charge fees that are not justified by their performance.
16                  2. Defendants Imprudently Maintained the Plan’s Investment in the MassMutual
                       Stable Value Option, When Lower Share Classes Existed and Other Investment
17                     Vendor Offered Superior Alternatives.

18             156. Starting in 2011, Defendants began offering the MassMutual SAGIC

19   Diversified Bond as the Plan’s only guaranteed income offering.                       In 2016,

20   Defendants transitioned this offering to the MassMutual Fixed Interest SAGIC. 4

21             157. Stable value funds generally are not SEC registered mutual funds.

22   Single Company fixed annuity contracts that are structured as an insurance company

23   general account, or an insurance company separate account, are solely regulated by

24   the State Insurance Commissioner selected by the insurance company. Synthetic

25   based stable value funds are run by a Registered Investment Advisor (RIA) regulated

26   by the SEC but use a small amount of synthetic GIC’s which sometimes are state

27
28   4
         SAGIC refers to Separate Account Guaranteed Investment Account.
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 1   regulated. The differences between the different types of funds are critical from a
 2   fiduciary standpoint.
 3         158. A stable value account in a retirement plan is (i) similar to a money
 4   market fund in that it provides principal protection, and (ii) similar to a bond fund in
 5   that it provides higher consistent returns over time. Stable value funds are able to do
 6   this because participant behavior is such that the amount of money invested in the
 7   account is relatively stable over time. This enables fund providers to offer better
 8   crediting rates (the rate of return) and to guarantee participants will not lose money
 9   by ensuring the fund transacts at book value. Synthetic Stable value accounts
10   “stabilize” the returns through the use of an imbedded formula which is part of the
11   contract with the plan that smooths out the volatility of the fund that results from
12   fluctuations in interest rates associated with bond funds. 5 Single fixed annuity
13   contracts are set by the insurance company at their discretion.
14         159. The 401(k) marketplace for the largest plans, if they offer stable value
15   funds, offer “synthetic” stable value funds, which are the least risky, because the
16   fund owns the securities in the underlying funds which typically are 95%+ of the
17   funds value. The annuity part or wrap is not only typically divided between insurers
18   but only typically comprises 1-5% of the value at risk. While the majority of plans
19   the size of Alorica’s use a lower risk synthetic stable value product, there are still
20   some Separate Account and General Account products. Separate account products,
21   such as the MassMutual GIC, where the assets of the underlying funds are held in the
22   separate account of an insurance carrier are riskier, because they are not owned by
23   the Plan but sit on the balance sheet of the insurer where they take on near 100% of
24   the single entity credit and liquidity risk of MassMutual.
25   //
26
27
     5
      See Stable Value Fund v. Money Market Fund, Financial Web describing
     difference between stable value funds and money market funds), available at:
28   http://www.finweb.com/investing/stable-value-fund-vs-money-marketfund.
     html#axzz44EaLfQnQ
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 1         160. In recent years, large 401(k) plans fled fixed annuity products backed by
 2   the general account of a single insurance company due to concerns about single
 3   entity credit and liquidity risk. Following the high-profile default failures of GIC
 4   Issuers in 1992 and 1993 by Executive and Confederation Life, the Federal Reserve
 5   expressed concerns about the high risk of the insurance company general account
 6   products and the flimsy nature of the state guarantees backing the insurance
 7   contracts. The industry immediately responded by offering more separate account
 8   contracts, which put creditors in line ahead of general account contracts but still
 9   resulted in 100% single entity credit and liquidity exposure. Synthetic value was
10   created in 1995 and by 1999 most the largest plans were in a synthetic based stable
11   value fund. Synthetic Stable value continued to gain market share over the next 20
12   years going into smaller and smaller plans. Some general account and separate
13   accounts have existed in plans under $1 billion because of a lack of litigation until
14   recently.
15         161. In September 2010 the trade group for State Government 401(k) plans,
16   the National Association of Government Defined Contribution Administrators,
17   (NAGDCA), created a brochure with the following characterization of insurance
18   company general account stable value funds. “Due to the fact that the plan sponsor
19   does not own the underlying investments, the portfolio holdings, performance, risk,
20   and management fees are generally not disclosed. This limits the ability of plan
21   sponsors to compare returns with other SVFs [stable-value funds]. It also makes it
22   nearly impossible for plan sponsors to know the fees (which can be increased
23   without disclosure) paid by participants in these funds—a critical component of a
24   fiduciary’s responsibility.
25         162. In this case, MassMutual placed the proceeds of the stable value fund in
26   an insurance company separate account at MassMutual. MassMutual received spread
27   fees – the difference between the returns made by MassMutual on the assets in the
28
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 1   segregated account and the crediting rate paid to participants. Insurance company
 2   balance sheets allow leverage and have tax advantages that add to profits and return.
 3         163. An insurance company GIC, such as the MassMutual GIC here, is
 4   subject to the single entity credit risk of the insurance company that issues the
 5   contract. The crediting rate, set in advance by the insurance company and reset from
 6   time to time in its sole discretion, is not tied to the performance of a diversified pool
 7   of assets in which the investors in the fund have an interest. Thus, Defendants had
 8   the opportunity and duty to evaluate the investment in advance; this is not a case of
 9   judging an investment with the benefit of hindsight. Further, Defendants should have
10   specifically negotiated in the contract that MassMutual was a fiduciary and that it
11   could exit at no costs if MassMutual was downgraded for any reason. The single
12   entity annuity contract constrained liquidity and the ability to replace it without
13   incurring exit charges.
14         164. In fact, there is substantial liquidity risk because there is no outside
15   market for these contracts.
16         165. Additionally, MassMutual has full control over the SAGIC’s spread fees
17   and thus has the ability to set (and manipulate) crediting rates.
18         166. As of 2022, the MassMutual GIC had $22,936,493 of assets for which
19   MassMutual charged an “administrative fee” plus earned an undisclosed “spread.”
20         167. Defendants did not have a viable methodology for monitoring the costs
21   or performance of the MassMutual GIC. Not only were comparable products
22   available from other providers with higher crediting rates, but identical or
23   substantially identical products were available to Defendants from MassMutual and
24   other stable value providers with higher crediting rates and lower spread fees.
25         168. As an ERISA fiduciary, Defendants had an obligation to monitor the
26   fees and performance of the GIC and to remove or replace it where a substantially
27   identical investment option can be obtained from the same provider at a lower cost.
28   See, e.g., Tibble v. Edison Int’l, 843 F.3d at 1198 (“[A] trustee cannot ignore the
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 1   power the trust wields to obtain favorable investment products, particularly when
 2   those products are substantially identical -- other than their lower cost -- to products
 3   the trustee has already selected.”).
 4                           CLASS ACTION ALLEGATIONS
 5          169. Plaintiffs bring this action in a representative capacity on behalf of the
 6   Plan and as a class action pursuant to Rule 23 of the Federal Rules of Civil
 7   Procedure on behalf of themselves and a Class defined as follows:
 8          170. All participants in or beneficiaries of the ALORICA 401(K)
 9   RETIREMENT PLAN from six years prior to the filing of the complaint in this
10   matter through the date of judgment (the “Class Period”).
11          171. The members of the Class are so numerous that joinder of all members
12   is impracticable. The disposition of their claims in a class action will provide
13   substantial benefits to the parties and the Court. The Plan has over 40,000
14   participants with account balances.
15          172. Questions of law and fact common to the members of the Class
16   predominate over questions that may affect individual class members, including,
17   inter alia:
18          (a) whether Defendants are fiduciaries of the Plan;
19          (b) whether Defendants breached their fiduciary duty of prudence with
20          respect to the Plan;
21          (c) whether Defendants had a duty to monitor other fiduciaries of the Plan;
22          (d) whether Defendants breached their duty to monitor other fiduciaries of
23          the Plan; and
24          (e) the extent of damage sustained by Class members and the appropriate
25          measure of damages.
26          173. Plaintiffs’ claims are typical of those of the Class because their claims
27   arise from the same event, practice and/or course of conduct as other members of
28   the Class.
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 1         174. Plaintiffs will adequately protect the interests of the Class and have
 2   retained counsel experienced in class action litigation in general and ERISA class
 3   actions involving fiduciary breaches in particular.
 4         175. Plaintiffs have no interests that conflict with those of the Class.
 5   Defendant does not have any unique defenses against any of the Plaintiffs that
 6   would interfere with their representation of the Class.
 7         176. A class action is superior to other available methods for the fair and
 8   efficient adjudication of this controversy. Joinder of all participants and
 9   beneficiaries is impracticable, the losses suffered by individual participants and
10   beneficiaries may be too small for individual members to enforce their rights
11   through individual actions, and the common questions of law and fact predominate
12   over individual questions. Given the nature of the allegations, no class member has
13   an interest in individually controlling the prosecution of this matter, and Plaintiffs
14   are not aware of any difficulties likely to be encountered in the management of this
15   matter as a class action.
16                               FIRST CAUSE OF ACTION
17                         Breach of Fiduciary Duty of Prudence
18                                (Against All Defendants)
19         177. Plaintiffs repeat and reallege the above paragraphs as though fully set
20   forth herein.
21         178. Defendants were fiduciaries of the Plan under ERISA §§3(21) and/or
22   402(a)(1), 29 U.S.C. §§1002(21) and/or 1102(a)(1) and under common law trust
23   law because they were either designated in the Plan documents as the Plan
24   Administrator, a named fiduciary under the Plan, performed discretionary Plan-
25   related fiduciary functions, including the selection and monitoring of investment
26   options for the Plan, and/or the negotiation over services and fees for the Plan,
27   and/or were responsible for the administration and operation of the Plan.
28   //
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 1         179. As a fiduciary of the Plan, Defendants were required, pursuant to
 2   ERISA §404(a)(1), 29 U.S.C. §1104(a)(1) and common law, to act: “(A) for the
 3   exclusive purpose of: (i) providing benefits to participants and their beneficiaries;
 4   and (ii) defraying reasonable expenses of administering the plan”; and “(B) to
 5   discharge their duties on an ongoing basis with the care, skill, prudence, and
 6   diligence under the circumstances then prevailing that a prudent man acting in a like
 7   capacity and familiar with such matters would use in the conduct of an enterprise of
 8   a like character and with like aims.”
 9         180. Common law and ERISA’s duty of prudence required Defendant to give
10   appropriate consideration to those facts and circumstances that, given the scope of its
11   fiduciary investment duties, it knew or should have known were relevant to the
12   particular investments of the Plan and to act accordingly. See 29 C.F.R. §2550.404a-
13   1. The Supreme Court has concluded that this duty is “a continuing duty to monitor
14   [plan] investments and remove imprudent ones.” Tibble, 135 S. Ct. at 1828.
15          181. As described above, Defendants failed to act prudently and in the best
16   interest of the Plan and its participants and breached its fiduciary duties in various
17   ways. Defendants failed to make decisions regarding the Plan’s investment lineup
18   based solely on the merits of each investment and what was in the best interest of
19   Plan participants. Defendants selected and retained investment options in the Plan
20   despite their high cost and poor performance relative to other comparable
21   investments and failed to investigate the availability of lower-cost share classes of
22   certain mutual funds in the Plan. A prudent fiduciary in possession of this
23   information would have removed these investment options, replaced them with more
24   prudent and lower cost alternatives, and/or used the size, leverage and bargaining
25   power of the Plan to secure significantly reduced fees for comparable investment
26   strategies.
27   //
28   //
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 1         182. In addition, Defendants failed to monitor or control excessive
 2   compensation paid for recordkeeping services which resulted from the unnecessary
 3   payment of recordkeeping and other services both directly and as a percentage of
 4   assets.
 5         183. In addition, Defendants failed to monitor or control excessive
 6   compensation paid for shareholder or financial advising services which resulted from
 7   the unnecessary payment of those services as a percentage of assets.
 8         184. Defendants knowingly participated in each fiduciary breach of the other
 9   Plan fiduciaries, knowing that such acts were a breach, and enabled the other Plan
10   fiduciaries to commit fiduciary breaches by failing to lawfully discharge their own
11   duties. Defendants knew of the fiduciary breaches of the other Plan fiduciaries and
12   failed to make any reasonable and timely effort under the circumstances to remedy
13   the breaches. Accordingly, each defendant is also liable for the losses caused by the
14   breaches of its co-fiduciaries under 29 U.S.C. §1105(a).
15         185. As a direct and proximate result of these breaches, the Plan, Plaintiffs
16   and members of the Putative Class suffered substantial losses in the form of higher
17   fees or lower returns on their investments than they would have otherwise
18   experienced. Additionally and regardless of the losses incurred by Plaintiffs or any
19   member of the Class, pursuant to ERISA §§502(a)(2) and (a)(3), and 409(a), 29
20   U.S.C. §§1132(a)(2) and (a)(3), and 1109(a), and common law trusts, Defendants
21   and any non-fiduciary which knowingly participated in these breaches are liable to
22   disgorge all profits made as a result of Defendant’s breaches of the duties of loyalty
23   and prudence, and such other appropriate equitable relief as the Court deems proper.
24   //
25   //
26   //
27   //
28   //
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 1                              SECOND CAUSE OF ACTION
 2     Breach of Fiduciary Duties in Violation of Duty to Investigate and Monitor
 3                        Investments and Covered Service Providers
 4                                  (Against All Defendants)
 5         186. Plaintiffs repeat and reallege the above paragraphs as though fully set
 6   forth herein.
 7         187. Defendants had overall oversight responsibility for the Plan and control
 8   over the Plan’s investment options through its authority to limit or remove the other
 9   Plan fiduciaries.
10         188. A monitoring fiduciary must ensure that the monitored fiduciaries are
11   performing their fiduciary obligations, including those with respect to the investment
12   and monitoring of plan assets, and must take prompt and effective action to protect
13   the Plan and participants when the monitored fiduciaries fail to perform their
14   fiduciary obligations in accordance with ERISA and common law trusts.
15         189. Defendants also had a duty to ensure that other Plan fiduciaries
16   possessed the needed qualifications and experience to carry out their duties (or used
17   qualified advisors and service providers to fulfill their duties); had adequate financial
18   resources and information; maintained adequate records of the information on which
19   they based their decisions and analysis with respect to the Plan’s investments; and
20   reported regularly to Defendant.
21         190.      Defendants breached their fiduciary monitoring duties by, among other
22   things:
23         (a) failing to monitor and evaluate the performance of other Plan fiduciaries
24         or have a system in place for doing so, standing idly by as the Plan suffered
25         losses as a result of other Plan fiduciaries’ election to continue to pay fees
26         that were significantly higher than what the Plan could have paid for a
27         substantially identical investment products readily available elsewhere, as
28         detailed herein;
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 1         (b) failing to monitor the processes by which the Plan’s investments were
 2         evaluated, which would have alerted a prudent fiduciary to the excessive
 3         costs being incurred in the Plan to the substantial detriment of the Plan and
 4         the Plan’s participants’ retirement savings, including Plaintiffs and members
 5         of the Class; and
 6         (c) failing to remove fiduciaries whose performance was inadequate, as they
 7         continued to maintain excessively costly investments in the Plan, all to the
 8         detriment of the Plan and Plan participants’ retirement savings;
 9         (d) failing to institute competitive bidding for covered service providers.
10         191.    As a direct and proximate result of these breaches of the duty to
11   monitor, the Plan, Plaintiffs, and members of the Class suffered millions of dollars of
12   losses. Had Defendant complied with its fiduciary obligations, the Plan would not
13   have suffered these losses, and Plan participants would have had more money
14   available to them for their retirement.
15         192. Pursuant to ERISA §502(a)(2) and (a)(3), and ERISA §409(a), 29
16   U.S.C. §1132(a)(2) and (a)(3), and 29 U.S.C. §1109(a), Defendant is liable to
17   disgorge all fees received from the Plan, directly or indirectly, and profits thereon,
18   and restore all losses suffered by the Plan caused by its breach of the duty to monitor,
19   and such other appropriate equitable relief as the Court deems proper.
20                                 PRAYER FOR RELIEF
21         Plaintiffs, on behalf of the Plan and all similarly situated Plan participants
22   and beneficiaries, respectfully request the Court:
23             • Certify the Class, appoint Plaintiffs as class representatives, and
24                appoint Christina Humphrey Law, P.C. and Tower Legal Group, P.C.
25                as Class Counsel;
26             • Find and declare that Defendants have breached their fiduciary duties
27                as described above;
28             • Find and adjudge that Defendants are liable to make good to the Plan
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 1              all losses to the Plan resulting from each breach of fiduciary duties,
 2              and to otherwise restore the Plan to the position it would have
 3              occupied but for the breaches of fiduciary duty;
 4           • Determine the method by which Plan losses under 29 U.S.C. §1109(a)
 5              should be calculated;
 6           • Order Defendants to provide an accounting necessary to determine the
 7              amounts Defendants must make good the Plan under §1109(a);
 8           • Find and adjudge that Defendants must disgorge all sums of money
 9              received from their use of assets of the Plan;
10           • Impose a constructive trust on any monies by which Defendants were
11              unjustly enriched as a result of breaches of fiduciary duty or prohibited
12              transactions, and cause Defendants to disgorge such monies and return
13              them to the Plan;
14           • Surcharge against Defendants and in favor of the Plan all amounts
15              involved in any transactions which an accounting reveals were
16              improper, excessive, and/or in violation of ERISA;
17           • Order equitable restitution against Defendants;
18           • Award to Plaintiffs and the Class their attorney’s fees and costs under
19              29 U.S.C. §1132(g)(1) and the common fund doctrine;
20           • Order the payment of interest to the extent it is allowed by law; and
21           • Grant other equitable or remedial relief as the Court deems
22              appropriate.
23
24   PLAINTIFFS DEMAND A TRIAL BY JURY OF ALL ISSUES SO TRIABLE
25                                      BY LAW.
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 1   Dated: October 10, 2022                CHRISTINA HUMPHREY LAW, P.C.
 2                                          TOWER LEGAL GROUP, P.C.

 3
 4
 5                                       By:   __________________________
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